          Case 1:18-mc-00167-ABJ Document 53 Filed 03/22/19 Page 1 of 3



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,           )
                                    )
            v.                      )
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)
                                    )
IN RE: PETITIONS FOR RELIEF         )
CONCERNING CONSENT ORDER OF )          Case No. 1:18-mc-00167-ABJ
FORFEITURE                          )
____________________________________)

    JOINT STATUS REPORT OF UNITED STATES, PETITIONER THE FEDERAL
      SAVINGS BANK, AND PETITIONER NATIONAL BANCORP HOLDINGS

         The United States of America, The Federal Savings Bank (TFSB) and National Bancorp

Holdings (NBH), by and through their undersigned counsel, respectfully submit this status report

in accordance with the Court’s March 1, 2019, Minute Order.

         As noted in the United States’ Response to Remaining Petitions and Request for Order,

the United States, TFSB, and NBH have renewed discussions regarding potential settlement.

Those discussions have continued, and the parties have exchanged further information in

furtherance of those discussions. The discussions remain ongoing and active. The parties agree

that a discovery and motions schedule would distract the parties from productive discussions,

and do not request a schedule at this time. Counsel for these parties together request three weeks

until April 11, 2019, in which further to confer regarding settlement and to report back to the

Court.




                                                 1
Case 1:18-mc-00167-ABJ Document 53 Filed 03/22/19 Page 2 of 3




                           Respectfully submitted,

                           ROBERT S. MUELLER, III
                           Special Counsel

                     By:   _______________________
                           Andrew Weissmann
                           Greg D. Andres
                           U.S. Department of Justice
                           Special Counsel’s Office
                           950 Pennsylvania Avenue NW
                           Washington, D.C. 20530
                           Telephone: (202) 616-0800

                     By:   /s/ Daniel H. Claman
                           Daniel H. Claman
                           Money Laundering and
                               Asset Recovery Section
                           Criminal Division
                           U.S. Department of Justice
                           1400 New York Avenue, N.W., Suite 10100
                           Washington, D.C. 20530
                           Telephone: (202) 514-1263

                           Counsel for the United States of America

                           SCHULTE ROTH & ZABEL LLP
                     By:   /s/ Seetha Ramachandran
                           Seetha Ramachandran
                           Jason T. Mitchell (D.C. Bar # 1005757)
                           SCHULTE ROTH & ZABEL LLP
                           919 Third Avenue
                           New York, New York 10022
                           (212) 756-2000

                           Counsel for Petitioners The Federal Savings Bank
                           and National Bancorp Holdings




                              2
         Case 1:18-mc-00167-ABJ Document 53 Filed 03/22/19 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2019, I have provided notice of the forgoing through

the Court’s Electronic Filing System to such counsel of record or pro se litigants as have

consented to accept service through such means. I have also transmitted a copy of this filing via

electronic mail to the following, who do not appear to have registered for notice through the

Court’s Electronic Filing System or who have not filed an appearance in this matter:

William Clayton Batchelor, Esq.
1601 18th Street, NW Suite 2
Washington, D.C. 20009
wcb@wrightandbatchelor.com

Robert T. Holland, Esq.
BELKIN BURDEN WENIG & GOLDMAN LLP
270 Madison Avenue
New York, New York 10106
RHolland@BBWG.COM
(Attorneys for Claimant the Residential Board of Trump Tower Condominium)

Christopher Doyle
48 Dougherty Drive
Middletown, NJ 07748
cdpar3@msn.com

Gayle Pollack, Esq.
MORRISON COHEN LLP
909 Third Avenue
New York, New York 10022
gpollack@morrisoncohen.com
(Attorney for 29 Howard Street Condominium)
                                                     /s/ Daniel H. Claman
                                                     Daniel H. Claman
                                                     Money Laundering and
                                                        Asset Recovery Section




                                                3
